8:06-cr-00243-LSC-FG3      Doc # 223   Filed: 07/27/10    Page 1 of 1 - Page ID # 690




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

  UNITED STATES OF AMERICA,               )
                                          )
                       Plaintiff,         )
                                          )               8:06CR243
               vs.                        )
                                          )               ORDER
  JAMARR HOLIDAY,                         )
                                          )
                       Defendant.         )

        Defendant Jamarr Holiday appeared before the court on Tuesday, July 27
  on a Petition for Warrant or Summons for Offender Under Supervision [213].
  The defendant was represented by CJA counsel Beau G. Finley and the United
  States was represented by Assistant U.S. Attorney Frederick D. Franklin. The
  government did not request detention.       The Defendant was not entitled to a
  preliminary examination.
        I find that the Report alleges probable cause and that the defendant should
  be held to answer for a final dispositional hearing before Judge Smith Camp.
        IT IS ORDERED:
        1.     A final dispositional hearing will be held before Judge Laurie Smith
  Camp in Courtroom No.2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South
  18th Plaza, Omaha, Nebraska, on September 22, 2010 at 8:30 a.m .      Defendant
  must be present in person.
        2.     The defendant is released on current conditions of supervision.
        DATED this 27th day of July, 2010.

                                                  BY THE COURT:

                                                  s/ F. A. Gossett
                                                  United States Magistrate Judge
